     Entered on Docket September 21, 2018
                                                  Below is the Order of the Court.


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                                                  _______________________________
                                                  Marc Barreca
 2
                                                  U.S. Bankruptcy Judge
 3                                                (Dated as of Entered on Docket date above)


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10                               UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF WASHINGTON
11                                          AT SEATTLE
12
        In re:                                )     Chapter 7
13                                            )     No. 10-24188
        JEREMEY K. BROWN                      )
14                                            )
        and                                   )     ORDER APPROVING FINAL REPORT AND
15                                            )     APPLICATIONS FOR ADMINISTRATIVE
        LISA M. BROWN                         )     EXPENSES
16                                            )
                                Debtors       )
17

18               This matter having come on for hearing, upon Notice of Final

19     Report and Applications for Compensation, it is hereby ordered that:
                 1.      The Final Report and distributions proposed therein are
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       approved;
21               2.      Reasonable compensation for actual and necessary services

22     rendered and reimbursement for actual and necessary expenses incurred
       are hereby awarded and allowed as follows:
23
                                                               Requested                 Approved
24                       Applicants                            Compensation              Compensation

25     Clerk of the Court                                      $          0.00           $         0.00
            Filing fees
26     Final Order - 1                                                         Law Offices of
                                                                               Peter H. Arkison
                                                                               103 E. Holly Street, Suite 502
                                                                               Bellingham, WA 98225-4728
                                                                               (360) 671-0300
Case 10-24188-MLB             Doc 69   Filed 09/21/18      Ent. 09/21/18 14:14:04              Pg. 1 of 2
 1   Peter H. Arkison                            $   9,834.21          $ 9,834.21
          Trustee fees
 2

 3
                                    ///End of Order\\\
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 6   Presented by:

 7   s/ Peter H. Arkison
     Peter H. Arkison
 8   Trustee
     WSBA 5530
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26   Final Order - 2                                         Law Offices of
                                                             Peter H. Arkison
                                                             103 E. Holly Street, Suite 502
                                                             Bellingham, WA 98225-4728
                                                             (360) 671-0300
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                                                 - 09/21/18 14:14:04      Pg. 2 of 2
